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UN|TED STATES DlSTR|CT COURT
WESTEF|N DlSTRICT OF TENNESSEE F"-ED BY

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SHELDFliCK EDWARDS
Bill Andersonl CJA
Defense Attorney
142 N. Third Street
Memphis, TN 38103

 

JUDGMENT |N A CR|M|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 & 4 of the indictment on May 09, 2005.
According|y, the court has adjudicated that the defendant is guilty of the following offenses:

Date Count
Tiue & section M@M_n_g offense whe§
Conc|uded

21 U.S.C. § 841 (a)(1) Un|awfu| Possession with intent to 01/15/2003 1
Distribute Controlled Substance

18 U.S.C. § 924 (c) Possession of a Firearm in 01/15/2003 4
Furtherance of a Drug Trafficking
Crime

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Fieform Act of 1984 and the Mandatory
Victims Fiestitution Act of 1996.

Counts 2 & 3 are dismissed on the motion of the United States.

lT lS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district
within 30 days of any change of name, residence, or mailing address until all fines, restitution, costs
and special assessments imposed by this judgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of imposition of Sentence:
Defendant’s Date of Birth: 3/15/1978 August 23, 2005
Deft’s U.S. Marsha| No.: 19161-076

Defendant’s Mailing Address:
16 Grant Avenue
Mason, TN 38049

    

BEFiN|CE B. DONALD
UNiTED STATES D|STFi|CT JUDGE

August g <L , 2005

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:.E"”.uié" \.'.' in:=`i`/Oi' 32{b) FRC{P on ___3_:3_5____0&_____

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Case No: 2:030Fi20316-01-D Defendant Name: She|drici< EDWARDS Page 2 of 4
|MPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a total term of 190 Months. (130 months as to count 1, and
60 months as to count 4, to be served consecutively).

The defendant is remanded to the custody of the United States Marshai.

RETURN

l have executed this judgment as foilows:

 

 

 

 

 

 

 

Defendant delivered on to
at . with a certified copy of this
judgment.
UN|TED STATES MARSHAL
By:

 

Deputy U.S. iViarshai

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Case No: 2:030R20316»01-D Defendant Name: Sheidrick EDWAFiDS Page 3 of 4

SUPERV|SED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 4 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federal, state
or local crime and shall not possess a firearm, ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance. The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shall comply with the following standard conditions that have been
adopted by this court.

STANDARD COND|T|ONS OF SUPERV|S|ON

1 . The defendant shall not leave the judicial district withoutthe permission of the court or probation officer;

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation officer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation officer ten(10) days prior to any change in residence or
employment;
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possess, use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally sold, used,
distributed, or administered; The defendant shall not associate with any persons engaged in criminal
activity, and shall not associate with any person convicted of a felony unless granted permission to do
so by the probation officer;

8. The defendant shall permit a probation officer to visit him or her at any time at home or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

9. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a
law enforcement officer;

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Case No: 2:030H20316-01-D Defendant Name: Sheidrick EDWAFiDS Page 4 of 4

10. The defendant shall not enter into any agreement to act as an informer or a special agent of a law
enforcement agency without the permission of the court;

11. As directed by the probation officer, the defendant shall notify third parties of risks that may be
occasioned by the defendant’s criminal record or personal history or characteristicsl and shall permit
the probation officer to make such notifications and to confirm the defendant’s compliance with such
notification requirement

12. if this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedule of Payments set
forth in the Criminal Monetary Penalties sheet of this judgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised release:

1) Participate in substance abuse testing and treatment programs as directed by the Probation
Officer.

2) Seek and maintain full-time employment
3) Cooperate in the collection of DNA as directed by the Probation Officer.

4) Obtain a GED Certificate as directed by the Probation Office.

CR|M|NAL MONETARY PENALT|ES

The defendant shall paythe following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedule of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). Ali of the payment options in the Schedule of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(g).

Total Assessment Total Fine Total Fiestitution
$200.00
The Specia| Assessment shall be due immediately

FINE
No fine imposed.

FlEST|TUT|ON
No Restitution was ordered.

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 103 in
case 2:03-CR-203]6 Was distributed by faX, mail, or direct printing on
August 25, 2005 to the parties listed.

 

 

William C. Anderson
ANDERSON LAW FIRM
369 N. Main St.
Memphis7 TN 38103

Kevin G. Ritz

U.S. ATTORNEY'S OFFICE- Memphis
167 N. Main St.

Ste. 800

Memphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

